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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 SANDRA LOPEZ LOPEZ
 Plaintiff                                  CIVIL 16-2372CCC
 vs
 THE ROBINSON SCHOOL, INC.; SAN
 JUAN CAPESTRANO HOSPITAL,
 INC.; DANIEL M. HILDEBRAND;
 MARIA TERESA LARRIEU; MELVIN
 SANTONI CRESPO, M.D.; ANGEL M.
 NARVAEZ MORELL, M.D.;
 AIG INSURANCE
 COMPANY-PUERTO RICO, INC.;
 MEDICAL DEFENSE INSURANCE
 CO.; ASPEN AMERICAN INSURANCE
 COMPANY; CONTINENTAL
 INSURANCE CO.;
 DEFENDANTS A,B,C (INSURANCE
 COMPANIES); DEFENDANTS D,E,F
 Defendants


                          OPINION AND ORDER

     This is an action for money damages and injunctive relief brought by
plaintiff Sandra López López (“López”), a teacher at defendant The Robinson
School (“Robinson”). López claims that Robinson, her supervisor María T.
Larrieu (“Larrieu”), Daniel Hildebrand (“Hildebrand”) and Robinson’s Head of
School, during the relevant time period, unlawfully discriminated against her
under the Age Discrimination in Employment Act (“ADEA”) because she had
a heavier workload than younger teachers, was referred to as an ‘old bag lady’
by coworkers, was not invited to a coworker’s retirement party, never received
trainings outside of Puerto Rico, and was given a Performance Improvement
Plan (“PIP”).   She claims suffering discrimination under the American
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Disabilities Act (“ADA”) for Robinson’s decision to take her to San Juan
Capestrano Hospital to be evaluated after she suffered a temporary nervous
breakdown during a meeting where Larrieu and other supervisors discussed
her performance with her. She further asserts that Robinson retaliated by
placing her on a PIP after filing an administrative complaint with the EEOC on
September 18, 2015.1
       Before the Court is Robinson, Larrieu, and Hildebrand’s Motion for
Summary Judgment (d.e. 92) filed on March 29, 2018. They contend that
summary dismissal of the ADEA and ADA claims is warranted because López
“lacks an actionable adverse employment action on which to anchor her claims
of discrimination and retaliation under federal [] law.” See id. at p. 1. As to the
retaliation claim, they contend there is no causal connection between López’
EEOC complaint and her placement in a PIP.
       Having considered Robinson, Larrieu, and Hildebrand’s (together the
“defendants”) Motion for Summary Judgment with Incorporated Memorandum
of Law (d.e. 92) and their proposed Statement of Uncontested Material Facts
in Support of Motion for Summary Judgment (d.e. 91) filed on March 29, 2018,
López’ Memorandum of Law in Opposition and Responses to the proposed
Uncontested Material Facts (d.e. 114) filed on June 30, 2018, and defendants’
Memorandum of Law in Reply to Plaintiff’s Opposition to Motion for Summary




       1
       López’ remaining claims under state law were dismissed without prejudice in the March 1,
2019 Partial Judgment (see d.e. 141).
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Judgment (d.e. 125-1) filed on July 27, 2018,2 the Court sets forth the following
material facts, which are uncontested:
                                     Findings of Fact
       1.    Robinson School is a private school with toddler, pre-School,
elementary, middle school and upper School Programs.
       2.    López began working at Robinson School as a part time substitute
teacher on or around 2005 and was eventually hired as a full time elementary
school teacher in the Pathways Program for the 2005-2006 academic year.
She was sixty-one (61) years old during the relevant time period.
       3.    Larrieu has been the Supervisor of the Pathways Program at
Robinson since June of 2007. López began reporting to her since then.
       4.    Hildebrand was Robinson’s Head of School during the relevant time
period and through October of 2015.
       5.    Cindy Ogg (“Ogg”) was Robinson’s Elementary School Principal and
Assistant Head of School until on or around October 2015 when she became
Interim Head of School. She became Robinson’s official Head of School in
December 2015.
       6.    Jannette Santiago (“Santiago”) is Robinson’s Business Operations
Manager.

       2
         The Motion for Leave to File Reply to Plaintiff’s Opposition to Robinson/Larrieu’s Motion
for Summary Judgment (d.e. 116) filed on July 9, 2018, the Motion for Brief Extension of Time to
File Reply to Plaintiff’s Opposition to Robinson/Larrieu’s Motion for Summary Judgment (d.e. 120)
filed on July 23, 2018, Motion Requesting Leave to File Reply Memorandum of Law in Excess of
10 Pages, to File Spanish Documents and [for] Extension of Time to File Certified English
Translations (d.e. 124) and the Motion Tendering Reply to Plaintiff’s Opposition to Motion for
Summary Judgment (d.e. 125) both filed on July 27, 2018, are all GRANTED, retroactively.
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      7.   Zuleyka Carmona (“Carmona”) is Robinson’s Human Resources
Officer.
      8.   On May 31, 2010, López received a Performance Evaluation for the
2009-2010 Academic Year. In this evaluation, López received a rating of
Needs Improvement (NI) in 17 performance areas such as planning,
organization, reporting student progress, and communication.          Robinson
recommended that she regularly check students’ notebooks and provide written
feedback; strengthen teaching proficiencies through the use of technology; be
consistent in maintaining a professional record of punctuality; ensure that plan
book evidences adequate lesson preparation; and keep abreast of new
developments in the field of Special Education.
      9.   On March 18, 2011, López received a PIP that included areas that
were addressed during the 2009-2010 year but continued to need
improvement. Among them were instructional skills; learning environment;
professional responsibilities; and interpersonal relations. Specifically, for the
area of professional responsibility Robinson indicated López still needed to
improve in her compliance with her supervisor’s and school’s regulations,
policies, procedures and instructions. In the area of interpersonal relations,
Robinson indicated that López still needed to communicate concisely,
effectively, and positively with staff, colleagues, and administrations, and that
she accept, internalize, and respond to constructive feedback in a positive
manner.
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     10. On June 23, 2011, López received another PIP indicating areas of
her professional responsibility that needed improvement such as submitting
rubrics, tests and projects for timely review, classroom conditions, working
effectively and productively with co-workers, among others.
     11. On December 21, 2011, López met with Larrieu to discuss areas of
her PIP that were not being met. She was told she needed to hand in all
formal assessments (tests, projects, and rubrics) according to school policy
(three days in advance) in order to be revised and approved by the curriculum
and program supervisors.
     12. On    August    1,   2013,   López   participated    in   International
Baccalaureate (IB) Curriculum Model Training with other Robinson School
Faculty. The training was held at Baldwin School in Guaynabo, Puerto Rico.
On October 20, 2014, López met with Larrieu, Ogg, and Carmona to address
concerns brought to Robinson’s attention regarding peers, students, and
parents. López was criticized for the tense tone conveyed in her emails, for
ending the daily supervision of her homeroom students prematurely, and her
defensive demeanor in interacting with coworkers.
     13. On or around the beginning of January 9, 2015, López participated
in a Landmark writing workshop held at Robinson School.            López sent
Hildebrand an e-mail thanking him for her participation in the workshop.
     14. On May 29, 2015, Ogg and Carmona met with López. She was told
that rubrics, organization, communication, correlation between what is given
and what is said, teamwork, and honesty were areas López had to work on.
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      15. On August 4, 2015, López emailed Larrieu and Ogg regarding her
schedule for the 2015-2016 academic year. She expressed her excitement for
the opportunity to “be the bridge between Elementary pathways and Middle
School” and requested to “interchange one of the Elementary Pathways Social
Studies class for a tutorial or CAS, to give [her] more time to focus on this new
challenge.” CAS stands for Core Academic Subject and is a non-grading class.
On August 14, 2015, in response to López’ request, Robinson removed one
class from her assigned schedule for the 2015-2016 academic year. As a
result, López had a lighter educational load and the opportunity to focus more
on test preparation, rubrics, and other work required.
      16. Teachers at Robinson are visited by their supervisors during class
time to observe the teacher’s classroom skills, to review student notebooks and
lesson plans. The visiting supervisor does not interact with the students during
the visit.
      17. On September 1, 2015, Larrieu visited López while she administered
a test for her Pathways 6th grade Social Studies class. Larrieu asked López for
her lesson plans and grade books. Although López gave Larrieu her lesson
plans, her manual grade book was not ready. That day, Larrieu took notes
following her visit and observed that certain work was not corrected, that
handouts were not in the students’ notebooks or their folders, and that she did
not find some work done by students, as stated in the lesson plans. Larrieu
also emailed Ogg, Carmona, and Santiago that evening to discuss her visit and
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indicated that López became agitated and upset when she asked for her
lesson plans.
      18. During Larrieu’s visit on September 1, 2015, certain students
became rowdy, walked around the classroom, and started looking at each
other’s tests. López hit the desk with her hand and stated firmly that they
needed to sit down while the test was taking place. Immediately after her visit,
López met with Larrieu and expressed feeling discriminated against because
of her age. Larrieu then wrote an email to Ogg and Carmona summarizing her
visit to López classroom where she observed that López’ tone of voice in
responding to students was disproportionate and rude.
      19. On September 2, 2015, López met with Santiago, Carmona, and
Larrieu to discuss what Larrieu had observed during her visit to López’
classroom the day before. López was asked about her communication style
with the 6th grade students and whether she thought it was too firm. López
responded that she was “firm but with love” and would continue to be firm with
them. Santiago decided to suspend López with pay until September 11, 2015
because of López’ responses during the meeting and Larrieu’s observations
during her September 1, 2015 visit.
      20. Upon hearing that she would be suspended, López had a temporary
nervous breakdown. She expressed wanting to kill herself, collapsed to the
floor, and grabbed Larrieu’s leg. While López was on the floor, Hildebrand
walked in, helped López up and into a chair. Hildebrand asked López if she
was ok and López responded she was not.
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     21. Hildebrand and Larrieu took López to the San Juan Capestrano
Hospital later that day. She was discharged on September 4, 2015. López
continued outpatient treatment at the San Juan Capestrano facility in the
Condado neighborhood of San Juan from September 9 through September 16,
2015. During this time period, López remained on paid leave of absence.
     22. On September 18, 2015, López filed a discrimination charge before
the EEOC/ADU.
     23. On September 21, 2015, López returned to work and continued with
her previously assigned regular class schedule. López met with Ogg and
Larrieu that day to discuss a Teacher Improvement Plan (“TIP”).
     24. The TIP stated that during Larrieu’s September 2, 2015 visit, she
observed López not displaying adequate responses to students, raising her
voice, and hitting her desk in an effort to gain student attention. The TIP
described this behavior as unacceptable. The TIP also stated that many of the
performance issues that were brought to López’ attention in May 2015 had not
been improved upon. Among the areas listed in the TIP as unsatisfactory were
López’ planning and preparation; assessment; learning environment;
communication, and professionalism.        López was then placed on a
Performance Improvement Plan until the end of the fall semester 2015 to
address the performance areas identified as unsatisfactory.
     25. López received two follow ups to the TIP – one on November 19,
2015 (signed on December 1, 2015), and one on May 13, 2016.
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      26. The November 19, 2015 TIP noted López improved in placing
student’s work in individual folders; she created a roll book; her reports were
entered in a timely fashion; and she began planning interdisciplinary lessons.
But on the follow up listed areas she still needed to improve, such as planning
and preparation; assessment; learning environment; communication; and
professionalism.
      27. The May 13, 2016 TIP noted López had improved in placing
student’s work in individual folders; creating and upkeeping her roll book;
entering reports in a timely fashion; and regularly keeping the classroom in an
orderly fashion. But on the follow up listed areas she still needed to improve
upon, such as, planning and preparation; working on building positive
interactions with coworkers, staff and administration; and professionalism.
      28. López was not placed on other improvement plans after May
of 2016.
      29. Robinson renewed López’ contract for the 2016-2017 Academic
Year. She accepted a new assignment in the Language Lab for that academic
year, where no grading or testing is required. Her salary was not impacted.
Robinson renewed López’ contract for the 2017-2018 Academic Year and she
was a teacher as of March 2018.
      30. López’ salary for the 2012-2013 academic year was $26,460.00; for
the   2013-2014    academic    year    it   was   $27,709.92,   and   for   the
2014-2015 academic year was $29,970.97.               López’ salary for the
2015-2016 academic year was $29,970.97; for the 2016-2017 academic year
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it was $31,950.48. Her salary for the 2017-2018 academic year remained at
$31,950.48.
      31. There were no salary increases for the Robinson faculty in the
2017-2018 Academic Year.
      Based on these Findings of Fact, the Court states the following:
                             Conclusions of Law
      1.   López’ Age Discrimination Claim
      “The ADEA provides that it is unlawful for an employer to ‘… discriminate
against [an individual] with respect to h[er] compensation, terms, conditions,
or privileges of employment, because of such individual's age.’ A plaintiff
asserting a claim under the ADEA has the burden of establishing ‘that age was
the ‘but-for’ cause of the employer's adverse action.’ In the absence of direct
evidence of age discrimination, [courts] evaluate ADEA claims under the
three-stage burden-shifting framework of McDonnell Douglas Corp. v. Green,
411 U.S. 792, 802–05, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973).”
Acevedo-Parrilla v. Novartis Ex-Lax, Inc., 696 F.3d 128, 137–38 (1st Cir.
2012)(citing Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 177, 129 S.Ct. 2343,
174 L.Ed.2d 119 (2009) and Cameron v. Idearc Media Corp., 685 F.3d 44, 48
(1st Cir.2012).)
      “Under the McDonnell Douglas framework, the plaintiff must first make
out a prima facie case for age discrimination by showing that (i) she was at
least 40; (ii) her work was sufficient to meet the employer's legitimate
expectations; (iii) her employer took adverse action against her; and (iv) either
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younger persons were retained in the same position upon her termination or
the employer did not treat age neutrally in taking the adverse action. Once the
plaintiff establishes a prima facie case, there is a rebuttable presumption of
discrimination, and the burden shifts to the employer to articulate a legitimate,
nondiscriminatory reason for [the adverse action]. If the employer does so, the
presumption vanishes, and the burden shifts once again. Plaintiff is then
required to show that the employer's proffered reason is but a pretext, and ‘that
age was the but-for cause of the employer's adverse action.’” Del
Valle-Santana v. Servicios Legales de Puerto Rico, Inc., 804 F.3d 127, 129–30
(1st Cir. 2015)(citing Brennan v. GTE Gov't Sys. Corp., 150 F.3d 21, 26 (1st
Cir.1998) and Vélez v. Thermo King de P.R., Inc., 585 F.3d 441, 447–48 (1st
Cir.2009)).
      López does not provide direct evidence of age discrimination, thus we
apply the McDonnel Douglas burden shift framework. As a sixty-one-year-old
during the relevant time period, López easily establishes the first element. She
fails, however, to meet the remaining elements of a prima facie claim of age
discrimination.
      It is undisputed that López was not meeting Robinson’s expectations in
the area of communications. See ¶¶ 8-13, 15. The materials on record show
that Robinson addressed López’ deficient communication skills in 2010, 2011,
2014, and 2015. In the 2010 Performance Evaluation and subsequent PIPs,
Robinson repeatedly indicated that López needed to improve her
communication style. Throughout this period, Robinson showed a recurring
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concern with López’ communications with her superiors, coworkers, and
students.   This deficiency was again brought to her attention during the
September 2, 2015 meeting where defendants decided to suspend her with
pay. See ¶¶ 21, 26. The need to improve her communication skills was also
noted in the TIP of September 21, 2015 and in her follow up meetings on
December 1, 2015 and May 13, 2016. See ¶¶ 25, 28-29.
      Nor is López able to establish that she suffered an adverse employment
action as a result of her age.      “An adverse employment action ‘typically
involves discrete changes in the terms of employment, such as hiring, firing,
failing to promote, reassignment with significantly different responsibilities, or
a decision causing significant change in benefits.’         To be adverse, an
employment action ‘must materially change the conditions of plaintiffs'
employ.’” Cham v. Station Operators, Inc., 685 F.3d 87, 94 (1st Cir. 2012)
(citing Morales-Vallellanes v. Potter, 605 F.3d 27, 35 (1st Cir. 2010)). None of
the supposed adverse actions that López provides on account of her age
changed the conditions of her employment. The fact that she never received
trainings outside of Puerto Rico, by itself, does not constitute an adverse
employment action, without showing how it was detrimental to her employment
prospects. See Pabon v. Vilsack, No. CIV. 13-1147 MEL, 2015 WL 859543,
at *8 (D.P.R. Feb. 27, 2015). Her allegation of having a heavier workload than
younger teachers is speculative and unsupported by evidence on the record.
See Lang v. Wal-Mart Stores E., L.P., 813 F.3d 447, 450 n.1 (1st Cir. 2016).
That coworkers allegedly called her an ‘old bad lady’ does not amount to a
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change in her employment condition. Nor is there proof to attribute to this
comment to Robinson or any of the employees with authority to change the
conditions of her employment. López claims that Robinson never investigated
the hostile work environment created by co-workers making this comment. But
nowhere in her Amended Complaint does she allege a hostile work
environment theory. See d.e. 64.
      López has not submitted evidence that any action taken by Robinson –
be it the PIPs and the criticisms stated therein, her attendance at trainings only
in Puerto Rico, her workload or her suspension with pay – was determined,
caused or even influenced by her age.
      Having failed to make out a prima facie case of age discrimination,
defendants are entitled to summary judgment on López’ ADEA claim.
      2.   López’ Disability Discrimination Claim (ADA)
      López does not point to direct evidence of a disability discrimination, so
we again apply the McDonnel Douglas framework. In order to state a prima
facie claim of disability discrimination, López must establish that “(1) she was
‘disabled’ within the meaning of the ADA; (2) that she was able to perform the
essential functions of her job with or without accommodation; and (3) that she
was [] adversely affected, in whole or in part, because of her disability.” Ruiz
Rivera v. Pfizer Pharm., LLC, 521 F.3d 76, 82 (1st Cir. 2008).
      López claims she was ‘regarded as’ having a disability by Robinson. “‘An
individual meets the requirement of ‘being regarded as having such an
impairment’ if the individual establishes that he/she has been subjected to an
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action prohibited under th[e] [ADA] because of an actual or perceived physical
or mental impairment whether or not the impairment limits or is perceived to
limit a major life activity.”   Mercado v. Puerto Rico, 814 F.3d 581, 588
(1st Cir. 2016) (citing 42 U.S.C. § 12102(3)(A)).            The ADA prohibits
discrimination “against a qualified individual on the basis of disability in regard
to job application procedures, the hiring, advancement, or discharge of
employees, employee compensation, job training, and other terms, conditions
and privileges of employment.” 42 U.S.C. § 12112.
      López argues that the she was discriminated based on a perceived
disability when defendants took her to San Juan Capestrano Hospital on
September 2, 2015 and when she received a TIP on September 21, 2015. But
neither event affected her compensation or terms of employment, such that it
constitutes a discriminatory act prohibited by the ADA. It is undisputed that
while López completed outpatient treatment at San Juan Capestrano Hospital’s
facilities in Condado, she remained on paid leave of absence. See ¶ 24. It is
undisputed that when López returned to Robinson on September 21, 2015 and
received the TIP, she continued with the regular class schedule previously
assigned to her and her salary remained the same. See ¶¶ 25, 33. It is also
undisputed that when she accepted a new assignment in Robinson’s Language
Lab for the 2016-2017 academic year, her salary was not impacted. See ¶ 31.
Thus, even assuming that López was able to perform the essential duties of
her job, which we do not decide today, she has not established that there is a
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genuine issue of fact as to whether she was adversely affected because of her
perceived disability.
      Reading the evidence in the light most favorable to López, and even
assuming that she established a prima facie case of disability discrimination,
Robinson has provided a non-discriminatory reason for its decision to take
López to San Juan Capestrano Hospital, for her suspension with pay, and for
the September 21, 2015 TIP. It is undisputed that López expressed a desire
to kill herself and that she suffered a nervous breakdown when she was
informed of her suspension. See ¶ 22. It is also undisputed that Robinson did
not consider López was meeting its expectations when it decided to suspend
her and issued the TIP. See ¶¶ 8-13, 15, 21, 25, 26, 28-29. López has not
shown that these non-discriminatory reasons were a pretext for Robinson’s
disability discrimination.
      Having failed to establish a prima facie case of disability discrimination
or shown that Robinson’s non-discriminatory reasons are pretextual,
defendants are entitled to summary judgment on her ADA claim.
      3.   López’ Retaliation Claim
      In the absence of direct evidence of retaliation, we apply the McDonnell
Douglas framework to her retaliation claim as well. To make a prima facie
claim of retaliation, López must show that “(1) she engaged in protected
conduct; (2) she experienced an adverse employment action; and (3) there was
a causal connection between the protected conduct and the adverse
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employment action." Kelley v. Corr. Med. Servs., Inc., 707 F.3d 108, 115 (1st
Cir. 2013).
      It is undisputed that López’ grievance to Larrieu of age discrimination on
September 1, 2015 and her EEOC complaint of September 18, 2015 constitute
protected conduct. López’ suspension with pay on September 2, 2015 in turn
represents an adverse employment action for purposes of making a prima facie
case of retaliation. The September 21, 2015 TIP and two follow ups on
November 19, 2015 (signed on December 1, 2015) and on May 13, 2016,
however, are not adverse employment actions because López’ salary and
terms of employment did not change as a result of these plans. See Reynolds
v. Dep't of the Army, 439 F. App'x 150, 153-54 (3d Cir. 2011) (following other
circuits in stating: “a PIP is not an adverse employment action absent
accompanying changes to pay, benefits, or employment status”).
      With respect to there being a causal connection between a protected
activity and an adverse employment action, her grievance to Larrieu on
September 1, 2015 and her suspension with pay the following day are
sufficiently close in time to satisfy the causation requirement of a prima facie
claim of retaliation. See Mariani-Colón v. Dep't of Homeland Sec. ex rel.
Chertoff, 511 F.3d 216, 224 (1st Cir. 2007) (finding prima facie case of
retaliation where plaintiff alleged that approximately two months had transpired
between protected conduct and adverse employment action); see also
Calero-Cerezo v. U.S. Dep't of Justice, 355 F.3d 6, 26 (1st Cir. 2004) (finding
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plaintiff met her burden of making out a prima facie case of retaliation when her
suspension took place roughly a month after she filed her EEOC complaint).
      Robinson has provided legitimate reasons for suspending López. The
decision was made based on López’ responses during the criticism made at
the September 2, 2015 meeting and Larrieu’s observations during her
classroom visit on September 1, 2015. Robinson’s criticisms of López during
this meeting focused on her communication style with students. Robinson had
informed López on numerous occasions that she needed to improve in the
area of communications since 2012. See supra Section I. Robinson’s reasons
for her suspension were not pretextual.
      To proceed on her retaliation claim, López must prove that Robinson’s
desire to retaliate against her was the but for cause of her suspension. See
Univ. of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 360,
133 S. Ct. 2517, 2533, 186 L. Ed. 2d 503 (2013) (establishing that plaintiff
must provide proof that the unlawful retaliation would not have occurred in the
absence of the alleged wrongful actions of the employer). López has not
established facts showing that Robinson suspended her in retaliation for her
grievance of September 1, 2015.
      4.   López’ State Law Claims under Act 44 and Act 115
      López has asserted claims under Puerto Rico’s analogous disability
discrimination statute, Act 44, and a retaliation claim under Act 155. Since
there is no diversity of citizenship between the parties, plaintiff invoked the
Court’s supplemental jurisdiction. Although defendants moved for summary
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judgment on these claims as well, federal courts may decline to exercise
supplemental jurisdiction over a plaintiff's state claims when the federal claims
that gave it original jurisdiction are dismissed. See 28 U.S.C. § 1367(c)(3) (so
specifying); see also Rodriguez v. Doral Mortg. Corp., 57 F.3d 1168, 1177
1st Cir. 1995) (stating that “the exercise of supplemental jurisdiction in such
circumstances is wholly discretionary”).
      Given our dismissal of the federal claims under the ADA and the ADEA,
López’ Act 44 and Act 115 state law claims are dismissed, without prejudice.
                                  Conclusion
      For the reasons stated above, Robinson, Larrieu and Hildebrand’s Motion
for Summary Judgment (d.e. 92) is GRANTED as to all federal claims, to wit:
López’ discrimination ADEA, ADA and retaliation claims. Judgment to be
entered.
      SO ORDERED.
      At San Juan, Puerto Rico, on March 1, 2019.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
